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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



                                                     )
IN RE APPLICATION OF THE                             )
UNITED STATES OF AMERICA FOR                         )      MISC. NO.
AN ORDER PURSUANT TO                                 )
18 U.S.C. § 3512                                     )
                                                     )
Request from Chile for Assistance in a               )
Criminal Matter: Jose Miguel Lira Lopez              )
                                                     )


                         APPLICATION OF THE UNITED STATES
                      FOR AN ORDER PURSUANT TO 18 U.S.C. § 3512

       The United States of America, moving by and through its undersigned counsel,

respectfully submits this ex parte application for an Order, pursuant to 18 U.S.C. § 3512,

appointing the undersigned attorney, Teresita B. Mutton, Trial Attorney, Office of International

Affairs (or a substitute or successor subsequently designated by the Office of International

Affairs), as a commissioner to collect evidence from witnesses and to take such other action as is

necessary to execute a request for assistance in a criminal matter from Chile. In support of this

application, the United States asserts:

                                          RELEVANT FACTS

       1.      On November 20, 2015, the General Prosecutor's Office submitted a request for

assistance (Request) to the United States, pursuant to the Inter-American Convention on Mutual

Assistance in Criminal Matters, Aug. 27, 1992 - Feb. 28, 2006, S. Treaty Doc. No. 105-25

(hereinafter, the "Treaty"). As stated in the Request, the Central North Metropolitan Region

Prosecutor's Office is investigating three criminal offenses, specifically, forgery and malicious

use of a private instrument, fraud, and bank fraud, which occurred between in or about 2014 and
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2015, in violation of the criminal law of Chile, namely, Articles 160, 193, 197, 198, 467, and 468

of the Chilean Criminal Code. A copy of the applicable law is included as Attachment A to this

application. Under the Treaty, the United States is obligated to render assistance in response to

the Request.

        2.     According to information obtained by Chilean authorities from LG Electronics

Inc. Chile Limitada (LG), in or about February 2005, attorney Jose Miguel Lira Lopez (Lopez)

began working at LG as the head of its legal Department. By virtue of his position, Lopez was

tasked with ensuring all of LG's operations complied with the relevant laws in force.

Approximately six years later, pursuant to public deed dated on or about April 28, 2011, LG

expanded Lopez's authority within the company to include the ability to represent LG's interest

in all business dealings (2011 authority). One year later, through public deeds dated on or about

June 19, 2012, and June 25, 2012, LG expanded Lopez's authority again to include the ability to

represent LG before commercial banks, as well as to enter into civil and commercial contracts on

LG's behalf (2012 authority).

        3.     Shortly thereafter, LG's partners reassigned Lopez's 2011 and 2012 authorities to

LG's Chief Executive Officer and the Chief Financial Officer. As a result, Lopez's role at LG

was restricted to overseeing LG's legal compliance only. In or about December 2014, LG

terminated Lopez and formalized a corresponding severance agreement on or about January 2,

2015.

        4.     Unbeknownst to LG, however, Lopez continued to represent LG in business

dealings. For example, bank records obtained by Chilean authorities reveal Lopez obtained four

bank loans, purportedly on behalf of LG, totaling approximately US$2,845,330, between on or

about August 5, 2014 and December 26, 2014, from Tanner Servicios Financieros S.A. A copy


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of a "Instructions and Power to Draft" form provided by Lopez to Tanner Servicios Financieros

confirms Lopez instructed the bank to transfer the loans to various third-party bank accounts, to

include a brokerage account at Banco Santander held by brokerage firm Intervalores Corredores

de Bolsa for a third-party with no apparent relation to LG. Records obtained from Intervalores

Corredores de Bolsa confirm that (1) Lopez was not a client; and (2) loan funds received from

Tanner Servicios Fiancieros were transferred immediately, pursuant to the account holder's

instructions, into various accounts held in the United States, Peru, and Chile, to include account

number XXX7238 at Harris Bank N.A. and account numbers XXXXXX8462 and

XXXXXXXXX7473 at Wells Fargo Bank.

       5.      To further the investigation, authorities in Chile have asked U.S. authorities to

provide bank records from Harris Bank, pertaining to account number XXX7238, and Wells

Fargo Bank, pertaining to account numbers XXXXXX8462 and XXXXXXXXX7473.

                                    LEGAL BACKGROUND

                                            The Treaty

        6.     A treaty constitutes the law of the land. U.S. Const. art. VI, c1.2. The provisions

of a treaty have equal footing with acts of Congress and are binding on the courts. See Asakura

v. City of Seattle, 265 U.S. 332, 341 (1924); United States v. The Peggy, 5 U.S. 103 (1801);

United States v. Emuegbunam, 268 F.3d 377, 389 (6th Cir. 2001). The provisions of a treaty

should be construed liberally "to give effect to the purpose which animates it." United States v.

Stuart, 489 U.S. 353 (368) (1989) (internal quotation marks omitted). To the extent that the

provisions of a treaty are inconsistent with a preexisting statutory provision, the treaty supersedes

the statute. Zschernig v. Miller, 389 U.S. 429, 440-41 (1968).




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           7.     The United States and Chile entered into the Treaty to promote more effective

cooperation and assistance between the parties in criminal matters. See Treaty pmbl. The Treaty

obligates each party, upon request, to provide assistance to the other in criminal investigations,

prosecutions, and related proceedings, including assistance in serving documents, obtaining

testimony, statements, and records, and executing searches and seizures. Article 7. In addition,

the Treaty, like 18 U.S.C. § 3512, authorizes federal courts to use compulsory measures to

further the execution of such requests. Article 10 ("Requests for assistance issued by the

requesting state. . . shall be executed in accordance with the domestic law of the requested

state.)1

                                             18 U.S.C. § 3512

           8.     When executing a treaty or non-treaty request for assistance from a foreign

authority, an attorney for the government may file an application to obtain any requisite court

orders under 18 U.S.C. § 3512. This section authorizes a federal court to issue such orders and

provides in pertinent part:

           Upon application, duly authorized by an appropriate official of the Department of
           Justice, of an Attorney for the Government, a Federal judge may issue such orders
           as may be necessary to execute a request from a foreign authority for assistance in
           the investigation or prosecution of criminal offenses, or in proceedings related to
           the prosecution of criminal offenses, including proceedings regarding forfeiture,
           sentencing, and restitution.



           [Ain application for execution of a request from a foreign authority under this
           section may be filed. . . in the District of Columbia.



           The term "foreign authority" means a foreign judicial authority, a foreign

1 Chilean authorities have not asked U.S. authorities to keep the Request confidential. Accordingly, the
United States is not seeking authorization to issue a non-disclosure order, nor is it seeking an order to seal
the court file.
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          authority responsible for the investigation or prosecution of criminal offenses or
          for proceedings related to the prosecution of criminal offenses, or an authority
          designated as a competent authority or central authority for the purpose of making
          requests for assistance pursuant to an agreement or treaty with the United States
          regarding assistance in criminal matters.

18 U.S.C. § 3512(a)(1), (c)(3), (h)(2).

          9.     Congress enacted this section to make it "easier for the United States to respond

to [foreign] requests by allowing them to be centralized and by putting the process for handling

them within a clear statutory scheme." 155 Cong. Rec. 6,810 (2009) (statement of Sen.

Whitehouse); Foreign Evidence Request Efficiency Act of 2009, Pub. L. No. 111-79, 123 Stat.

2086.2 This section provides clear authority for the federal courts, upon application duly

authorized by an appropriate official of the Department of Justice, to issue orders which are

necessary to execute a foreign request.

          10.    An application is duly authorized by an appropriate official of the Department of

Justice when the Office of International Affairs, which serves as the "Central Authority" for the

United States, has reviewed and authorized the request, and executes the request itself or

delegates execution to another attorney for the government.3 Upon such a duly authorized




2 Priorto the enactment of 18 U.S.C. § 3512, the United States routinely utilized the procedures
authorized by 28 U.S.C. § 1782 (the "commissioner" process) to execute requests from foreign
authorities. See In re Request from the United Kingdom, 685 F.3d 1, 11 (1st Cir. 2012) (18 U.S.C. §
3512 provides a more streamlined process than 28 U.S.C. § 1782, the statute under which foreign requests
were previously executed); see also Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 247-49
(2004) (describing history of Section 1782). When enacting Section 3512, Congress anticipated that
improved U.S. handling of foreign requests would ensure reciprocity in response to U.S. requests for
assistance in its criminal investigations. See, e.g., 155 Cong. Rec. 10,093 (2009) (statement of Rep.
Schiff).

3 The Attorney General, through regulations and Department of Justice directives, delegated to the Office
of International Affairs the authority to serve as the "Central Authority" under treaties and executive
agreements between the United States and other countries pertaining to mutual assistance in criminal
matters. See 28 C.F.R. 0.64-1, 0.64-4, and Appendix to Subpart K, Directive Nos, 81A and 81B.
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application, Section 3512 authorizes a federal judge to issue "such orders as may be necessary

to execute [the] request," including: (1) search warrants under Fed. R. Crim. P. 41; (2) orders for

electronic records under 18 U.S.C. § 2703; (3) orders for pen registers or trap and trace devices

under 18 U.S.C. § 3123; and (4) orders appointing a person to direct the taking of testimony or

statements and/or the production of documents or other things. See 18 U.S.C. § 3512(a)(1)-

(b)(1). In addition, a federal judge may prescribe any necessary procedures to facilitate the

execution of the request, including any procedures requested by the foreign authority to facilitate

its use of the evidence. See In re Letter of Request from the Crown Prosecution Service of the

United Kingdom, 870 F.2d 686, 693 (D.C. Cir. 1989) (court has discretion in prescribing

procedures to be followed in executing foreign request under 28 U.S.C. § 1782); cf. White v.

National Football League, 41 F.3d 402, 409 (8th Cir. 1994) (court may issue process necessary

to facilitate disposition of matter before it); Fed. R. Crim. P. 57(b).

        11.     Section 3512 also authorizes any person appointed to direct the taking of

testimony or statements and/or the production of documents or other things to: (1) issue an order

requiring a person to appear and/or produce documents or other things; (2) administer any

necessary oaths; (3) take testimony or statements; and (4) take receipt of documents or other

things. 18 U.S.C. § 3512(b)(2). In ordering a person to appear and/or produce documents or

other things, the person appointed, commonly referred to as the "commissioner," typically uses a

subpoena entitled "Commissioner Subpoena." Any such subpoena or any other order, subject to

subsection (d), may be served or executed anywhere in the United States. 18 U.S.C. § 3512(f).

A copy of a "Commissioner Subpoena" is included as Attachment B.




4The term "federal judge" includes a magistrate judge. See 18 U.S.C. § 3512(h)(1) and Fed. R. Crim. P.
1(b)(3)(B) (including a magistrate judge in the definition of federal judge).
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                                    REQUEST FOR ORDER

       12.     The Office of International Affairs has reviewed and authorized the Request, and

is executing the Request itself. Consequently, this application for an Order appointing the

undersigned attorney as a commissioner to collect evidence from witnesses and to take such

other action as is necessary to execute the Request has been "duly authorized" within the

meaning of Section 3512. In addition, the Request was submitted by an appropriate "foreign

authority," i.e., the General Prosecutor's Office, the designated Central Authority in Chile for

requests made pursuant to the Treaty, and seeks assistance in the investigation of forgery and

malicious use of a private instrument, fraud, and bank fraud — criminal offenses in Chile.

Furthermore, the requested Order is necessary to execute the Request, and the assistance

requested, i.e., the production of bank records, falls squarely within that contemplated by both

the Treaty and Section 3512. Finally, this application was properly filed in the District of

Columbia.

       13.     Both Section 3512 and the Treaty authorize the use of compulsory process in the

execution of treaty requests comparable or similar to that used in domestic criminal

investigations or prosecutions. Because subpoenas utilized in U.S. criminal proceedings (i.e.,

grand jury and criminal trial subpoenas) are issued without notice to any person other than the

recipient (i.e., no notice to targets or defendants), orders and commissioner subpoenas issued in

execution of a treaty request pursuant to Section 3512 and the applicable treaty, likewise should

require no notice other than to the recipients. This is true even if the Requesting State, as here,

seeks financial records, because the Right to Financial Privacy Act, 12 U.S.C. §§ 3401 et seq.,

including its notice provisions, does not apply to the execution of foreign requests for legal

assistance. Young v. U.S. Dept. of Justice, 882 F.2d 633, 639 (2d Cir. 1989), cert. denied, 493


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U.S. 1072 (1990); In re Letters of Request from the Supreme Court of Hong Kong, 821 F. Supp.

204, 211 (S.D.N.Y. 1993); In re Letter of Request for Judicial Assistance from the Tribunal Civil

de Port-Au-Prince, Republic of Haiti, 669 F. Supp. 403, 407 (S.D. Fla. 1987). Accordingly, this

Court should authorize a commissioner to collect the evidence requested without notice to any

person other than the recipients of the commissioner subpoenas.

       14.     Therefore, the United States respectfully requests that this Court issue the

attached Order, pursuant to 18 U.S.C. § 3512, appointing the undersigned attorney, Teresita B.

Mutton, Trial Attorney, Office of International Affairs (or a substitute or successor subsequently




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designated by the Office of International Affairs) as a commissioner and authorizing the

undersigned to take the actions necessary, including the issuance of a commissioner subpoenas,

to obtain the evidence requested in a form consistent with the intended use thereof.



                                             Respectfully submitted,

                                             VAUGHN A. ARY
                                             DIRECTOR
                                             OFFICE OF INTERNATIONAL AFFAIRS
                                             OK Bar Number 12199

                                             TRACEY S. LANKLER
                                             ASSOCIATE DIRECTOR
                                             OFFICE OF INTERNATIONAL AFFAIRS
                                             District of Columbia Bar Number 449276




                                              eresita B. Mutton
                                             Trial Attorney
                                             District of Columbia Bar Number 983152
                                             Office of International Affairs
                                             Criminal Division, Department of Justice
                                             1301 New York Avenue, N.W., Suite 800
                                             Washington, D.C. 20530
                                             (202) 305-4243 telephone
                                             Teresita.Mutton@usdoj.gov




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